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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division
____________________________________
                                     )
TRUSTEES OF THE PLUMBERS             )
AND STEAMFITTERS UNION               )
LOCAL NO. 10 APPRENTICESHIP          )
FUND,                                )
                                     )
            Plaintiff,               )
                                     )
v.                                   )    Civil Action No.: 3:24-cv-00180
                                     )
                                     )
VICTORIA NAPKY,                      )
                                     )
            Defendant.               )
____________________________________)

                                 NOTICE OF APPEARANCE

       COMES NOW Mark J. Passero of the law firm of LawrenceQueen and enters his

appearance as counsel for the Defendant, Victoria Napky. Mr. Passero is a member in good

standing of the Virginia State Bar and has been admitted to practice before this Court.

                                                     Respectfully Submitted,

                                                     /s/ Mark J. Passero
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                                                     Counsel for Defendant
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                               CERTIFICATE OF SERVICE

       On this 29th day of April 2024, I certify that the foregoing document was served via the

Court’s ECF system upon all counsel of record, including the following:

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                                      Counsel for Plaintiff



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